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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                OXFORD DIVISION


ANGELA BRYSON MILLER                                                                      MOVANT

V.                                                                              NO. 3:10CR163-SA

UNITED STATES OF AMERICA                                                            RESPONDENT


                          MEMORANDUM OPINION AND ORDER

       Angela Bryson Miller comes before the Court on a successive motion to vacate, set aside,

or correct sentence pursuant to 28 U.S.C. § 2255, which has been amended to include a claim that

her crimes of conviction no longer qualify as violent felonies. The Government has responded to

Miller’s arguments, and the Court has held an evidentiary hearing. Having considered the

pleadings and the record, including the evidence adduced at the evidentiary hearing, along with the

relevant law, the Court finds that the motion should be denied, for the reasons that follow.

                           Background Facts and Procedural History

       Following a jury trial, Angela Miller was convicted of two counts of aiding and abetting

the use of firearms in furtherance of armed bank robberies in violation of 18 U.S.C. § 2 and 18

U.S.C. § 924(c)(1)(A). She was sentenced by judgment entered on July 18, 2012, to serve 384

months in the custody of the Federal Bureau of Prisons (ABOP@). Miller appealed with the

assistance of appellate counsel Christi R. McCoy, and the judgment was affirmed in February

2014. See doc. #191; see also United States v. Miller, 554 F. App’x 311 (5th Cir. Feb. 12, 2014).

Thereafter, in November 2014, Miller filed a motion with the United States Court of Appeals for

the Fifth Circuit seeking to have the mandate recalled, arguing that her appellate counsel failed to

follow Miller’s request that a petition for certiorari be filed. See doc. #214, pp. 2, 14-15. The Fifth

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Circuit noted that Miller failed to present evidence demonstrating that she timely made a written

request for McCoy to file a certiorari petition in the United States Supreme Court, despite the fact

that McCoy offered to produce copies of her correspondence with Miller if Miller would file a

release. Id. Noting that Miller filed no such release and did not produce evidence supporting her

claim, her motion to recall the mandate was denied without prejudice to her ability to pursue an

ineffective assistance of counsel claim in a § 2255 motion. Id.

        On or about August 17, 2015, Miller filed the instant motion raising an ineffective

assistance of counsel claim against McCoy for her alleged failure to follow Miller=s instructions to

file a certiorari petition. After receiving the Government=s response, the Court scheduled an

evidentiary hearing on Miller=s ineffective assistance of counsel claim and ordered that counsel be

appointed to her. On June 24, 2016, Miller, through counsel, moved to amend her motion to

include a claim that her crimes of conviction no longer qualify as violent felonies pursuant to the

Supreme Court’s decision in Johnson v. United States, 135 S. Ct. 2251 (2015), arguing that the

underlying offenses of armed bank robbery are only Acrimes of violence@ under the statute’s now

unconstitutional residual clause. The Court granted the motion to amend, and the parties briefed

the issue of Johnson=s application to the instant case. On August 31, 2016, the Court heard the

parties’ evidence as to Miller=s ineffective assistance of counsel claim, and it granted Miller’s

current attorney additional time to file a reply brief as to the Johnson-based challenge. Miller’s

counsel submitted a reply brief on September 16, 2016.

                                         Legal Standard

       After a defendant has been convicted and exhausted his appeal rights, a court may presume

that Ahe stands fairly and finally convicted.@ United States v. Frady, 456 U.S. 152, 164 (1982). A

motion brought pursuant to § 2255 is a Ameans of collateral attack on a federal sentence.@ Cox v.

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Warden, Federal Detention Ctr., 911 F.2d 1111, 1113 (5th Cir. 1990) (citation omitted). There are

four separate grounds upon which a federal prisoner may move to vacate, set aside, or correct a

sentence under 28 U.S.C. § 2255: (1) the sentence was imposed in violation of the Constitution or

laws of the United States; (2) the court was without jurisdiction to impose the sentence; (3) the

sentence exceeds the statutory maximum sentence; or (4) the sentence is otherwise subject to

collateral attack. 28 U.S.C. § 2255(a). Collateral attack limits a movant=s allegations to those of

Aconstitutional or jurisdictional magnitude.@ United States v. Samuels, 59 F.3d 526, 528 (5th Cir.

1995) (citation omitted). Relief under § 2255 is reserved, therefore, for violations of

Aconstitutional rights and for that narrow compass of other injury that could not have been raised

on direct appeal and, would, if condoned, result in a complete miscarriage of justice.@ United

States v. Capua, 656 F.2d 1033, 1037 (5th Cir. 1981).

       To make a substantial showing of the denial of her Sixth Amendment right to the

reasonably effective assistance of counsel, a movant must satisfy the standard set forth in

Strickland v. Washington, 466 U.S. 668 (1984), which requires her to demonstrate Athat counsel=s

performance was deficient,@ and that Athe deficient performance prejudiced [her] defense.@

Strickland, 466 U.S. at 687. To establish deficient performance, the movant Amust show that

counsel=s representation fell below an objective standard of reasonableness.@ Id. at 687-88. The

court=s scrutiny of counsel=s performance must be Ahighly deferential.@ Id. at 689. To prove

prejudice, the movant must demonstrate that the result of the proceedings would have been

different if counsel had performed effectively. Id. at 694. The prejudice inquiry does not merely

require that the movant raise the Apossibility of a different outcome,@ but rather, it requires the

movant to Ademonstrate that the prejudice rendered sentencing >fundamentally unfair or



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unreliable.=@ Crane v. Johnson, 178 F.3d 309, 312-13 (5th Cir. 1999) (quoting Lockhart v.

Fretwell, 506 U.S. 364, 369 (1993)).

                                                  The Evidence

         Following her sentencing hearing, Miller filed a pro se notice of appeal. See doc. # 153.

Thereafter, attorney Christi McCoy was appointed as appellate counsel for Miller, and the two

began communicating through letters. Once Miller was transferred to BOP custody, the two began

communicating through the BOP=s official email system, CorrLinks. Miller testified that she was

housed at a Federal Correctional Institution in Aliceville (AFCI Aliceville@), Alabama, on February

14, 2014, when, through a telephone conversation with her daughter, she learned that her appeal

had been denied by the Fifth Circuit. Miller testified that she immediately emailed McCoy about

the decision and received a response from McCoy stating that Miller would receive paperwork

shortly.

         The parties agree that following the rejection of Miller=s appeal on February 12, 2014,

McCoy sent Miller a letter in which McCoy instructed Miller: AYou have ninety (90) days to

consider filing a Writ of Certiorari to the United States Supreme Court. I do not believe such a writ

would be successful and I will not be filing one on your behalf.@1 See Def=t Ex. 3; Gov=t Ex. 1; and

doc. #215 at 6. Miller stated that she subsequently received paperwork from both McCoy and the

Fifth Circuit, and that she sent McCoy an email asking her to continue the appeals process. Miller

testified that she was unfamiliar with the legal term Acertiorari@ at that time but asked McCoy in the

email to proceed to Athe next step@ of the appeal. McCoy denies that Miller ever made such a

request. A certiorari petition was not filed.

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            The parties agree that the letter, dated October 4, 2013, is obviously misdated, as Miller=s appeal was not
finalized until February 2014.


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        According to Miller, she filed a motion in the Fifth Circuit to recall the mandate in her

criminal case in November 2014. See doc. #214 at 2. As part of that process, she maintains, the

appellate court sent both her and the warden paperwork compelling FCI Aliceville to assist Miller

in obtaining her email communications with McCoy for February 2014, which were presumably

stored on the CorrLinks system. Miller testified that she talked to the associate warden, Sekou

Ma=at, about the paperwork, though Ma=at, submitted a declaration in this case maintaining that he

could not recall having a conversation with Miller about her emails to McCoy. Gov=t Ex. 4, § 2.

According to Miller, the warden at FCI Aliceville, Arcola Washington-Adduci, denied receipt of

any paperwork from the Fifth Circuit concerning this case. Ms. Washington-Adduci submitted a

declaration in this cause stating she did not recall any discussion of emails between Miller and

McCoy. Gov=t Ex. 6, § 2. Miller contends that despite these declarations, she did in fact have

conversations with both the warden and associate warden about her emails with McCoy and was

unable to obtain any assistance in retrieving the emails stored on the system. In fact, she maintains,

she also asked McCoy for a copy of all correspondence, including emails between the two, and

while McCoy promised she would forward all of the correspondence to Miller, she did not.

        Two letters from McCoy to Miller dated January 20, 2015, and August 26, 2015,

respectively, were produced at the evidentiary hearing. Def=t. Exs. 1 & 2. In each letter, McCoy

denies the allegation that she failed to file a certiorari petition after Miller requested she do so. Id.

In her August 26, 2015, letter, McCoy states that her computer has been damaged, and that she will

attempt to have the hard drive restored and the emails presented to the Fifth Circuit. Def=t Ex. 2.

McCoy testified that she was later able to have her emails retrieved, but that there were no emails

between Miller and McCoy concerning a certiorari petition.

        In connection with the instant motion, Miller=s current attorney executed a subpoena for

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any emails sent by Miller to McCoy between October 2013 through August 2016. Jarred Booth, a

special investigative services technician at FCI Aliceville, submitted a declaration in this cause

stating that he searched the inmate database and the inmate email system and was not able to locate

any relevant emails, as under BOP=s email retention protocol, all emails are purged from the

system six months from the date that they are sent or received. Gov’t Ex. 5. Miller testified that she

was given no advance notice that emails were purged after six months, and she argued that her

persistent attempts to retrieve her communication with McCoy point to a conclusion that she did,

in fact, send written correspondence asking for the certiorari petition to be filed.

       McCoy, conversely, testified that at no time did Miller ask her to file a certiorari petition on

her behalf and maintained that she did not discuss the issue with Miller after she sent the misdated

letter advising Miller of the ninety-day window within which to file for certiorari. She testified that

she did exchange correspondence and emails with Miller even after entry of the Fifth Circuit=s

mandate, noting that Miller inquired about assistance with a Rule 35 motion and stated she was

working on a § 2255 motion at the time. McCoy stated that Miller at no time requested that a

certiorari petition be filed on her behalf, and she maintained that she would have filed one if such a

request had been made.

                                 This § 2255 Motion is Successive

       At the outset, the Court notes that Miller is before the Court on a second-in-time § 2255

motion, having been granted permission from the Fifth Circuit to proceed on a claim of ineffective

assistance of counsel. See doc. #219. The parties appear to agree that the motion is not successive.

However, as the Court noted the following in its order transferring this matter to the Court of

Appeals for Fifth Circuit for determination of whether the instant motion should be considered in

this Court:

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       The Court determines that Miller now presents a claim that could have been
       presented in her earlier motion, which was not resolved until after this instant claim
       became ripe. The Court notes that a petition for certiorari to the Supreme Court
       must be filed within ninety days following the entry of judgment. See Sup. Ct. R.
       13.1. In this case, the time expired for Miller to seek certiorari review on or about
       May 13, 2014 (February 12, 2014 plus 90 days). Miller=s initial § 2255 motion was
       pending before this Court on May 13, 2014, and Miller supplemented that motion
       on or about May 16, 2014. However, Miller did not attempt to supplement her
       initial § 2255 motion to include the claim now asserted, despite the fact that she was
       then aware of its existence. This Court resolved Miller=s first § 2255 motion
       approximately 167 days after the Fifth Circuit affirmed the judgment on direct
       appeal, and the claim that counsel failed to file a petition for writ of certiorari as
       requested was a claim that could have been included in her earlier motion.
       Therefore, this action is successive.

See doc. #216 at 3. Because she could have sought to supplement her initial § 2255 motion to

include the instant claim, the Court concludes it must be considered successive. See, e.g.,

Magwood v. Patterson, 561 U.S. 320, 354 (2010) (AA second petition raising a claim that could

have been raised in a prior petition . . . is still >second or successive.=@); In re Wood, 2016 WL

2772275, at *4 (5th Cir. May 12, 2016) (denying permission to file successive habeas petition

where movant could have sought to amend his initial habeas petition to include new claim).

       The Fifth Circuit=s grant of permission to file this successive petition does not entitle

Miller to a merits review, necessarily, as the authorization to file a successive petition represents

only a determination that Miller has made a prima facie showing that her motion satisfies the

requirements for successive motions under § 2255. Reyes-Requena v. United States, 243 F.3d

893, 898-900 and n.16 (5th Cir. 2001). Rather, before reaching the merits of Miller=s claim, this

Court must Adismiss any claim presented in a second or successive application that the court of

appeals has authorized to be filed unless the applicant shows that the claim satisfies the

requirements of this section.@ 28 U.S.C. § 2244(b)(4).

       For merits review, a successive motion must demonstrate: A(1) newly discovered


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evidence that, if proven and viewed in light of the evidence as a whole, would be sufficient to

establish by clear and convincing evidence that no reasonable factfinder would have found the

movant guilty of the offense; or (2) a new rule of constitutional law, made retroactive to cases on

collateral review by the Supreme Court, that was previously unavailable.@ 28 U.S.C. § 2255(h);

Reyes-Requena, 243 F.3d at 900. This case involves neither. Therefore, Miller has failed to make

the required showing for her claim of ineffective assistance of counsel, and the claim should be

dismissed.

                  The Merits:    Ineffective Assistance of Appellate Counsel

       Alternatively, the Court finds that a review of the merits of Miller=s claim demonstrates

that Miller has failed to establish her ineffective assistance claim by a preponderance of the

evidence. See, e.g., Wright v. United States, 624 F.2d 557, 558 (5th Cir. 1980). The Court notes

that at the evidentiary hearing, Miller and McCoy both testified that McCoy sent Miller a letter

advising her of her right to seek certiorari review in February 2014 and advising her that McCoy

would not file a writ on her behalf. Miller argued that she informed McCoy to Ago to the next

step,@ stating that she was unfamiliar with the legal terminology Acertiorari,@ but that she

nonetheless made clear to McCoy her intention that McCoy continue the appeals process. First,

the Court notes that Miller has been unable to produce any evidence that she made such a

request, and it notes that the associate warden and warden have submitted declarations stating

that they recall no discussion with Miller about the emails. Second, the February 2014 letter from

McCoy clearly advised Miller what the Anext step@ was, and Miller was assuredly advised of her

ability to seek certiorari review by the letter, which she admittedly received. Given the prolific




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nature of Miller=s pro se filings2 and her awareness of the need to file her own petition for

certiorari if she wanted to pursue that avenue of relief, it strains credulity to assume that Miller

simply sat passively on her rights while the time for her to file a certiorari petition expired.

Rather, in examining all of the evidence, the Court finds the most credible explanation for the

absence of a certiorari petition to be that Miller did not make a request of McCoy to file a

certiorari petition.

        However, even if the Court were to assume that Miller did ask McCoy to Atake the next

step,@ Miller is not entitled to § 2255 relief. The Fifth Circuit=s Plan for Representation on Appeal

Under the Criminal Justice Act (ACJA Plan@) provides:

        Promptly after the court of appeals’ decision issues, appointed counsel must advise
        the client in writing of the right to seek further review by filing a petition for writ of
        certiorari with the United States Supreme Court. If the client asks in writing that
        counsel file a petition, counsel must do so in a timely manner. If counsel believes
        filing a petition would be futile, he or she may move the court of appeals to be
        relieved of the obligation. The court of appeals also may act sua sponte to relieve
        counsel of any further representation.

CJA Plan ‘ 6, & 4. The Court is aware that the Fifth Circuit has, in some instances, granted § 2255

relief on claims that counsel failed to advise his or her client of the ability to seek certiorari review

from the Supreme Court. See, e.g., Ordonez v. United States, 588 F.2d 448, 449 (5th Cir. 1979)

(holding that deliberate failure of counsel to file a petition for certiorari after promise made by

counsel to file a petition is sufficient for appellate court to withdraw mandate); Lacaze v. United

States, 457 F.2d 1075, 1076-77 (5th Cir. 1972) (recalling mandate upon determination that

counsel failed to initiate a certiorari petition or advise client of right to seek review); United
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           Throughout the post-conviction period, Miller filed the following motions pro se in this cause: notice of
appeal [153], a _ 2255 [154], a motion for appointment of counsel [164], a motion for a new trial [183], a
supplemented _ 2255 [192], a motion for acquittal [201], a motion for reconsideration [205], the instant _ 2255
[214], and a supplement seeking to add a Johnson challenge [245]. Moreover, she proceeded pro se with her motion
to recall the mandate in the Fifth Circuit.


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States v. Johnson, 308 F. App=x        768, 769 (5th Cir. 2009) (vacating direct appeal judgment

upon determination that counsel did not advise client in writing of right to seek certiorari

review). However, these cases involve situations where counsel either failed to advise the client

of the right to seek certiorari review or failed to fulfill a promise to do so. In this case, both

Miller and her appellate counsel, McCoy, testified that McCoy advised Miller in writing that a

certiorari petition would not be filed on her behalf, and that she had ninety days within which to

file her own, if she chose to do so.

       Moreover, relief in a § 2255 motion is reserved, as is relevant here, for claims Athat the

sentence was imposed in violation of the Constitution or laws of the United States[.]@ 28 U.S.C.

§ 2255(a). While Aindigent defendants pursuing appeals as of right have a constitutional right to a

brief filed on their behalf by an attorney, that right does not extend to forums for discretionary

review.@ Austin v. United States, 513 U.S. 5, 8 (1994) (internal citation omitted). The

Constitution does not guarantee a criminal defendant the right to counsel to pursue a certiorari

petition, nor is certiorari review by the Supreme Court a judicial proceeding to which a criminal

defendant is entitled. See 28 U.S.C. § 1254 (writ of certiorari is discretionary); S. Ct. R. 10

(certiorari review is a matter of discretion). Because a petitioner is not entitled to counsel on

collateral review, a claim of ineffective assistance of counsel in filing a petition for writ of

certiorari fails to raise a constitutional claim. See Ross v. Moffit, 417 U.S. 600, 619 (1974)

(holding that respondent was not denied a constitutional right when state refused to provide

counsel to aid him in obtaining discretionary appellate review); Wainwright v. Torna, 455 U.S.

586, 587-88 (1982) (ASince respondent had no constitutional right to counsel, he could not be

deprived of the effective assistance of counsel by his retained counsel’s failure to file the

application [for certiorari] timely.@); Clark v. Johnson, 227 F.3d 273, 283 n.5 (5th Cir. 2000)

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(ABecause there is no right to counsel for discretionary appeals, we need not analyze this claim

under Strickland.@); United States v. Lauga, 762 F.2d 1288, 1291 (5th Cir. 1985) (holding that

counsel=s failure to seek a writ of certiorari from the Supreme Court could not give rise to § 2255

ineffective assistance of counsel claim). Accordingly, the Court finds that Miller was not denied a

constitutional right with regard to counsel’s failure to file a petition for certiorari on her behalf.

                                     Johnson-Based Challenge

        Miller also has raised a claim that her convictions for two counts of aiding and abetting in

brandishing a firearm during a crime of violence in violation of 18 U.S.C. § 924(c) no longer

qualify as violent felonies, because they are only crimes of violence under the statute=s Aresidual

clause,@ which is materially indistinguishable from the residual clause of the Armed Career

Criminal Act held unconstitutionally vague in Johnson v. United States, 135 S. Ct. 2551 (2015).

The Johnson decision was made retroactively applicable in Welch v. United States, 136 S. Ct.

1257 (2016).

        The residual clause at issue in Johnson defined a violent felony to include offenses

Aotherwise involv[ing] conduct that presents a serious potential risk of physical injury to

another.@ 18 U.S.C. § 924(e)(2)(B)(ii). The Fifth Circuit has addressed the concerns prompting

the Johnson holding:

        In Johnson, the Court highlighted two features of the Act’s residual clause that
        together make the clause unconstitutionally vague. Id. at 2557. First, the Court
        observed that Athe residual clause leaves grave uncertainty about how to estimate
        the risk posed by a crime@ under the categorical approach required by Taylor v.
        United States, 495 U.S. 575, 600, 110 S.Ct. 2143, 109 L.Ed.2d 607 (1990). Id.
        Second, the Court noted that the Act’s Aimprecise >serious potential risk= standard@
        was difficult to apply. Id. at 2558.


United States v. Gonzalez-Longoria, No. 15-40041, 2016 WL 4169127, at *3 (5th Cir. Aug. 5,


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2016) (footnote omitted).

         As noted above, Miller was convicted of two counts of aiding and abetting the use of

firearms in furtherance of armed bank robberies, a conviction which provides for imprisonment

for brandishing a firearm in furtherance of a crime of violence. 18 U.S.C. § 924(c)(1)(A). The

statute defines a crime of violence as a felony that:

         (A) has as an element the use, attempted use, or threatened use of physical force
         against the person or property of another, or
         (B) that by its nature, involves a substantial risk that physical force against the
         person or property of another may be used in the course of committing the offense.

18 U.S.C. § 924(c)(3)(A)&(B). Miller claims that section (B) C the statute=s residual clause C is

vague and substantially similar to the clause invalidated in Johnson.

         The Fifth Circuit recently rejected a vagueness challenge to the definition of Acrime of

violence@ in 18 U.S.C. § 16(b), which is materially indistinguishable from the crime of violence

definition in § 924(c). See Gonzalez-Longoria, 2016 WL 4169127, at n.1 and n.6.3 First, finding

the definition in § 16(b) Apredictively more sound,@ the court noted that A[r]isk of physical force is

more definite than risk of physical injury; further, by requiring that the risk of physical force arise

Ain the course of committing@ the offense, 18 U.S.C. § 16(b) does not allow courts to consider

conduct or events occurring after the crime is complete.@ Id. at *3. Second, the court determined

that the Johnson Court noted 18 U.S.C. § 16(b), like most federal laws, did not tie phrases such as

Asubstantial risk to a confusing list of examples,@ but rather, it required judges to merely interpret

the phrase as a matter of routine, just as with Adozens of federal and state criminal laws.@ Id. at 4

(citing Johnson, 135 S. Ct. at 2561). The Court finds that the Aresidual clause@ in § 924(c) does not

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             18 U.S.C. _ 16 defines Acrime of violence@ as follows: (a) an offense that has as an element the use,
attempted use, or threatened use of physical force against the person or property of another, or (b) any other offense
that is a felony and that, by its nature, involves a substantial risk that physical force against the person or property of
another may be used in the course of committing the offense. 18 U.S.C. ‘ 16.

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share the same infirmities as the ACCA=s residual clause.

       Additionally, the Court notes that the Fifth Circuit has denied permission to file

successive, Johnson-based petitions based on convictions under 18 U.S.C. 924(c)(3)(B). See,

e.g., In re Fields, No. 16-50521, 2016 WL 3383460, at *1 (5th Cir. June 17, 2016) (noting that

disagreement among the courts on whether to grant permission to file a successive § 2255

petition based on the argument that Johnson applies to section 924(c)(3)(B) Ademonstrates that

the Supreme Court has not taken a position on whether Johnson applies to section

924(c)(3)(B)@). Accordingly, the Court rejects the argument that Johnson invalidated §

924(c)(3)(B).

       Miller otherwise argues that her convictions do not satisfy the Aforce@ clause C Section (A)

C of the statute, as the bank robbery statute allows a conviction of bank robbery by intimidation,

therefore allowing a conviction without meeting the Aby force@ requirement of § 924(c)(3)(A). The

federal criminal statute governing bank robbery provides:

       Whoever, by force and violence, or by intimidation, takes, or attempts to take, from
       the person or presence of another, or obtains or attempts to obtain by extortion any
       property or money or any other thing of value belonging to ... any bank ... Shall be
       fined under this title or imprisoned. . .

18 U.S.C.A. ‘ 2113(a). AIntimidation@ as used in the statute requires the threatened use of physical

force, which is sufficient to satisfy Section (A). See, e.g., United States v. McNeal, 818 F.3d 141,

153 (4th Cir. 2016).

       Miller also argues that since she was acquitted of the predicate violent crime, i.e. bank

robbery, it is apparent that the jury did not find that she aided and abetted the taking of property by

force and violence, or by intimidation. The Court iterates that a jury found Miller guilty of aiding

and abetting the brandishing of firearms during and in relation to a crime of violence. The federal


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aiding and abetting statute Areflects a centuries-old view of culpability: that a person may be

responsible for a crime he has not personally carried out if he helps another to complete its

commission.@ Rosemond v. United States, 134 S. Ct. 1240, 1245 (2014); see also 18 U.S.C. § 2.

Bank robbery is a crime of violence because it has force, violence, and/or intimidation as a

necessary element. Royal v. Tombone, 141 F.3d 596, 602 (5th Cir. 1998) (holding under §

924(c)(3)(A), an inmate convicted of the crime of bank robbery is incarcerated for a Acrime of

violence@). Other circuits have concluded, post-Johnson, that bank robbery is a crime of violence.

See, e.g., In re Sams, ___ F.3d ___, 2016 WL 3997213, at **3-4 (11th Cir. July 26, 2016) (AWe . .

. hold now that a bank robbery conviction under § 2113(a) by force and violence or by intimidation

qualifies as a crime of violence under the § 924(c)(3)(A) use-of-force clause.@); McNeal, 818 F.3d

at 153 (concluding bank robbery conviction is qualified as crime of violence under use of force

clause because it requires taking Aby force or violence,@ thus requiring use of physical force, or by

Aintimidation,@ which involves the threatened use of physical force, and Aeither of those

alternatives includes an element that is >the use, attempted use, or threatened use of physical

force=@). Accordingly, the Court finds no merit to Miller=s claim, and relief on this issue is denied.

                                    Certificate of Appealability

       This Court must Aissue or deny a certificate of appealability when it enters a final order

adverse to the applicant.@ Rule 11 of the Rules Governing Section 2255 Proceedings for the United

States District Courts. Miller must obtain a COA before she may appeal the denial of her § 2255

motion. 28 U.S.C. § 2253(c)(1)(B). A COA will issue Aonly if the applicant has made a substantial

showing of the denial of a constitutional right.@ 28 U.S.C. § 2253(c)(2). For cases rejected on their

merits, a movant Amust demonstrate that reasonable jurists would find the district court’s

assessment of the constitutional claims debatable or wrong@ to warrant a COA. Slack v. McDaniel,

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529 U.S. 473, 484 (2000); see also United States v. Jones, 287 F.3d 325, 329 (5th Cir. 2002)

(applying Slack to COA determination in § 2255 proceeding). To obtain a COA on a claim that

has been rejected on procedural grounds, a movant must demonstrate Athat jurists of reason

would find it debatable whether the petition states a valid claim of the denial of a constitutional

right and that jurists of reason would find it debatable whether the district court was correct in its

procedural ruling.@ Slack, 529 U.S. at 484. Based on the Slack criteria, the Court finds that a COA

should not issue in this cause.

                                            Conclusion

       For the reasons set forth herein, the Court ORDERS that Miller=s § 2255 motion [214] is

DENIED. A COA is DENIED. A separate final judgment will enter today.

       SO ORDERED on this the 3rd day of October 2016.


                                                       /s/ Sharion Aycock
                                                      U.S. DISTRICT JUDGE




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